  Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 1 of 32 PageID# 7




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION


 IN THE MATTER OF THE SEARCH OF:

 ONE APPLE IPHONE 14 PRO MAX,
 BEARING IMEI: 35379198066465, IN A
 GOLD CASE                                           Case No. 1:24-sw-202

 CURRENTLY LOCATED AT THE FBI
 NORTHERN VIRGINIA RESIDENT
 AGENCY IN MANASSAS, VIRGINIA.

            AFFIDAVIT IN SUPPORT OF AN APPLICATION UNDER RULE 41
                          FOR A WARRANT TO SEARCH

       I, Daniel McCoy, being duly sworn, depose and state the following:

                     INTRODUCTION AND AGENT BACKGROUND

       1.      I make this Affidavit in support of an Application under Federal Rule of Criminal

Procedure 41 for a search warrant authorizing the examination of property     an electronic device

                                 SUBJECT DEVICE             which is currently in law enforcement

possession and the extraction from that property of the electronically stored information described

in Attachment B.

       2.      I am a Special Agent w

been so employed since January 2021. I am currently assigned to the Washington Field Office,

Northern Virginia Resident Agency. I am on a squad that investigates darknet related narcotics

trafficking and have been assigned to this squad since June 2021. Prior to be hired as a special



and was so employed from April 2015 until January 2021. I have received formal training in the

investigation of drug and violent crimes, including specialized training in evidence collection. I
  Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 2 of 32 PageID# 8




have experience investigating various types of crime, and I have investigated or assisted in the

investigation of numerous cases involving violent criminal activity, narcotics, and crimes against

persons and property. I have been a sworn law enforcement officer during all times herein.

       3.       During my time in law enforcement, I have participated in the application for and

execution of numerous arrest and search warrants in investigations of narcotics offenses, resulting

in the prosecution and conviction of numerous individuals and the seizure of illegal drugs,

weapons, stolen property, and other evidence of criminal activity. Through my training and

experience, I am familiar with the actions, habits, traits, methods, and terminology utilized by the

traffickers and abusers of dangerous controlled substances.

       4.       The statements in this affidavit come from my personal observations, my training

and experience, information supplied to me by other law enforcement personnel, and other sources

of information obtained and reviewed during the course of the investigation. This affidavit

contains information necessary to support probable cause. The information contained in this

affidavit is not intended to include each and every fact and matter observed by me or known to the

government.

                 IDENTIFICATION OF THE DEVICE TO BE EXAMINED

       5.       The property to be searched is an Apple iPhone, bearing IMEI 35379198066465,

                                                       SUBJECT DEVICE

       6.       The SUBJECT DEVICE

Resident Agency, 9325 Discovery Place, Manassas, Virginia, 20109.

       7.       The requested warrant would authorize the forensic examination of the SUBJECT

DEVICE for the purpose of identifying the electronically stored data particularly described in

Attachment B.



                                                 2
  Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 3 of 32 PageID# 9




                             FORFEITURE LEGAL AUTHORITY

       8.      Title 21, United States Code, Section 853(a) (criminal forfeiture for violations of

21 U.S.C. §§ 841 and 846) provides for the forfeiture of any property constituting, or derived

from, any proceeds the person obtained, directly or indirectly, as the result of such violation and

                                ed, or intended to be used, in any manner or part, to commit, or to

facilitate the commission of, such violation.

       9.      Title 21, United States Code, Section 881(a)(6) (civil forfeiture for violations of 21

U.S.C. §§ 841 and 846) provides for the forfeiture of all moneys, negotiable instruments,

securities, or other things of value furnished or intended to be furnished by any person in exchange

for a controlled substance or listed chemical in violation of this subchapter, all proceeds traceable

to such an exchange, and all moneys negotiable instruments, and securities used or intended to be

used to facilitate any violation of this subchapter.

       10.     Pursuant to 18 U.S.C. § 981(b) (civil seizure), property subject to civil forfeiture

may be seized by a warrant issued by



                                                                                           forfeiture



                                 (1)(A).

       11.     Title 21, United States Code, Section 853(f) (criminal seizures) provides that the

government may request a seizure warrant authorizing the seizure of property subject to forfeiture

in the same manner as for a search warrant. The seizure warrant issues if the Court determines

that there is probable cause to believe that the property seized would, in the event of conviction,



                                                  3
    Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 4 of 32 PageID# 10




be subject to forfeiture and that a restraining order may not be sufficient to assure the availability

of such property for forfeiture.

           12.     There is probable cause to believe that the cryptocurrency mentioned herein is

subject to seizure and forfeiture pursuant to 21 U.S.C. § 853(a) and 21 U.S.C. § 881(a)(6) as

proceeds of distribution and conspiracy to distribute controlled substances, in violation of 21

U.S.C. §§ 841 and 846.

           13.     I know, through my training and experience, that individuals who distribute illegal

controlled substances on the darknet often use, and are paid in, cryptocurrency. Virtual currency

can be stored almost anywhere, in both physical and electronic formats. For example, Attachment

B lists items to be seized including bitcoin, Bitcoin wallets, Bitcoin keys, passwords, and recovery

phrases. These pieces of data comprise long and complex character strings, leaving many virtual

currency users to write down or otherwise record and store such items because they are too long

to commit to memory. As such, these items evidencing the use of virtual currency, specifically

wallets, keys, and passwords, may be documented in writing and secreted anywhere within a

residence. Therefore, individuals typically keep such records, data, and documents in their

residence, including in computers or on other devices that store electronic data.

           14.     Cryptocurrency, such as Bitcoin, serves the same purpose as United States dollars,

except that it is not tied to a central bank and is not regulated by a government body such as a

treasury. Cryptocurrency transactions take place entirely online and offer a degree of anonymity

to users. Cryptocurrency can be maintained on custodial or non-custodial cryptocurrency wallets.

Custodial wallets are typically third-party centralized exchanges. Non-custodial wallets are

maintained by the owner who protects their cryptocurrency with a password or recovery phrase.1



1
    Also known as a seed phrase.

                                                    4
 Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 5 of 32 PageID# 11




       15.     The passcodes allowing users to access a bitcoin wallet, and transfer the bitcoin

contained within it, may be stored on mobile devices, external or removable media, or computers.

These passcodes can also be represented as long strings of characters, machine readable bar codes

(QR codes), or hidden within other innocuous looking data such as image files. Private keys and



on paper. Again, recovery phrases for access to electronic wallets are typically complex and are

often written down or saved in an accessible manner on paper or some electronic device.

       16.     A recovery phrase is a series of 12 24 random words generated by the

cryptocurrency wallet that grants access. Anyone who maintains the recovery phrase can access

the wallet. Even if the password is lost or destroyed, the wallet can still be recreated with that

recovery phrase. If both the password and the recovery phrase are lost, the wallet cannot be

recovered. If law enforcement finds a recovery phrase for a wallet, it is imperative that the funds

are transferred to a government-controlled wallet immediately to reduce the risk of another

individual who may have the password or seed phrase accessing it remotely. For these reasons, a

restraining order would be inadequate to preserve the cryptocurrency for forfeiture. By seizing the

cryptocurrency and transferring it to a government-controlled wallet, the United States will prevent

third parties from being able to access the cryptocurrency.

                                      PROBABLE CAUSE

       17.     The United States, including the FBI, the U.S. Postal Inspection Service, and the

Food and Drug Administration        Office of Criminal Investigations have been investigating a

criminal enterprise utilizing the darknet to facilitate the sale of controlled substances, primarily




                                                 5
    Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 6 of 32 PageID# 12




counterfeit Adderall2 tablets made with methamphetamine.3 Throughout the investigation, law

enforcement has identified at least three darknet drug vendors operating under this enterprise:

MrJohnson, NuveoDeluxe, and AllStateRx. These vendors take orders for counterfeit Adderall,

containing methamphetamine, over the respective                                           M s) they operate on.4

Since October 2022, law enforcement has conducted over twenty (20) controlled purchases from

the enterprise via the darknet. Since at least April 2022, the three darknet drug vendors have

distributed more than approximately 13,000 suspected drug orders throughout the United States of

America, including to the Eastern District of Virginia, using the mail. These orders have been

mailed from at least three different United States federal districts, including the Middle District of

Florida, the District of New Jersey, and the Eastern District of New York.

         18.      The investigation identified three defendants primarily linked to these individual




While each individual is primarily associated with one respective account, the investigation found

significant overlaps between the three vendors and defendants demonstrating that JOSEPH,

JOSHUA, and ROMAN were conspiring to sell the same product over these individual vendor

pages and were sharing the proceeds of the enterprise. On February 9, 2024, a criminal complaint

and arrest warrants were issued out of the Eastern District of Virginia, charging JOSEPH,



2
 Adderall is a brand name for a central nervous stimulant, consisting of amphetamine and dextroamphetamine, and
manufactured by Teva Pharmaceuticals. Adderall is a Schedule II controlled substance, used to treat attention deficit
hyperactivity disorder ( ADHD ) and narcolepsy, and only available by prescription. A popular generic form of


3




4
 Law enforcement was able to locate the vendor profiles for MrJohnson, NuveoDeluxe, and AllStateRx across several
DMs to include Abacus, ASAP, Archetype, Tor2Door, Bohemia, and Incognito Markets.

                                                         6
 Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 7 of 32 PageID# 13




JOSHUA, and ROMAN with conspiring to distribute 500 grams or more of a mixture or substance

of methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1) and 846. See United States v. Joseph

Vasquez et al, 1:24-mj-45 (E.D. Va. Feb. 7, 2024).         The affidavit from that complaint is

incorporated herein by reference.

       19.     To summarize, law enforcement agents identified NuveoDeluxe as a significant



purchasing counterfeit Adderall pills from NuveoDeluxe. Early purchases from NuveoDeluxe

were originating from specific post offices in the Middle District of Florida. A law enforcement

OCE began additional purchases from NuveoDeluxe and law enforcement agents started

surveilling the common post offices in the Middle District of Florida. While surveilling these post

offices, law enforcement agents were able to witness JOSEPH deposit at least one package

containing an undercover order placed by the OCE from NuveoDelxue. The tablets contained in

the package were orange in color, oval in shape, w

the other. Subsequent laboratory analysis confirmed that these tablets contained a detectable

amount of methamphetamine.

       20.     As part of the investigation into JOSEPH, law enforcement agents were able to

identify a PO Box within the Middle District of Florida that JOSEPH opened using his issued



a 12-pound package, shipped from within the District of New Jersey, was enroute to JOSEPH at

this PO Box. Law enforcement agents intercepted the package prior to delivery. On July 17, 2023,

the Honorable Thomas G. Wilson, United States Magistrate for the Middle District of Florida,

authorized law enforcement agents to search the package. See Mag. No. 8:23-mj-1863-tgw. The

search found the package to contain approximately 5.5 kilograms of counterfeit Adderall tablets



                                                7
 Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 8 of 32 PageID# 14




nearly 15,000 tablets in total. Specifically, these tablets were orange in color, oval in shape, with



that these tablets contained a detectable amount of methamphetamine. These tablets were visually

similar to those purchased from NuveoDeluxe and deposited into the mail by JOSEPH.

       21.       Law enforcement agents were able to identify through Postal records that the 5.5-

kilogram package originated from a post office located at 915 Bennetts Mills Road, Jackson, New




on that street

Physical surveillance determined that JOSHUA drove a white Jeep Grand Cherokee, bearing New



seen by a local surveillance camera travelling to the JACKSON POST OFFICE shortly before the

5.5-kilogram package was mailed and then going in the opposite direction shortly after the 5.5-

kilogram package was dropped off. The road where the local surveillance camera was stationed

is consistent with the route one would take from the ATTERBURY RESIDENCE to the

JACKSON POST OFFICE. Further, law enforcement agents reviewed USPS business records for

the tracking number of the package which found that it was tracked by an IP address attributable

to a telephone number linked to JOSHUA, suggesting JOSHUA mailed the 5.5-kilogram package

of methamphetamine to JOSEPH.

       22.       Between July and September 2023, law enforcement agents found ties between

NuveoDeluxe and AllStateRx that suggested the two vendors were linked. Among other ties, both

vendor pages were visually similar, such as having similar layouts for their products and using a

similar vendor page logo. They also advertised/sold Adderall in similar fashions, including



                                                 8
 Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 9 of 32 PageID# 15




addresses. A law enforcement OCE began purchasing counterfeit Adderall from AllStateRx in

September 2023. Agents conducted surveillance on JOSHUA at the ATTERBURY RESIDENCE

around this time as well. On or about September 12, 2023, law enforcement agents witnessed

JOSHUA leave the ATTERBURY RESIDENCE in VEHICLE 1 with a blue bag. He drove

directly to the JACKSON POST OFFICE and exited VEHICLE 1 with the blue bag. He deposited

several USPS Priority Mail envelopes in the USPS collection box outside the JACKSON POST

OFFICE and more inside. One of the parcels that JOSHUA deposited contained an order for

counterfeit Adderall that was purchased from AllStateRx by a law enforcement OCE the day prior.

That parcel contained 55 tablets which were visually consistent with the tablets in the multi-

kilogram package, and those received in previous undercover orders with NuveoDeluxe.

Laboratory analysis confirmed these tablets contained a detectable amount of methamphetamine.

       23.    While discovering the connections between JOSEPH and JOSHUA, law

enforcement agents were also investigating the MrJohnson vendor page, which began around

October 2022. After finding that undercover parcels placed with MrJohnson were originating in

Brooklyn, NY, law enforcement agents spoke with employees at several post offices in Brooklyn,

NY and inquired about bulk USPS Priority Mail Envelope deposits. Employees at one post office

specifically reported a male making frequent deposits of bulk items.

       24.    In response to the inquiries, law enforcement agents began surveilling these

Brooklyn, NY post offices and, on or around September 27, 2023, law enforcement agents

witnessed ROMAN deposit parcels at two different post offices in the Eastern District of New

                                                                One of the parcels contained an

undercover order, placed by an OCE from MrJohnson. Within the parcel were numerous tablets



                                                9
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 10 of 32 PageID# 16




matching what the OCE had ordered from MrJohnson. Laboratory analysis confirmed that these

tablets contained a detectable amount of methamphetamine. Out of the numerous parcels that were

deposited with this undercover order, two were seized by law enforcement agents and searched

pursuant to search warrants issued in the District of New Jersey. Within the parcels were numerous

                                                                                               See

23-mj-12241-jbc and 23-mj-12242-jbc.        These tablets were visually consistent with those

previously received in undercover orders from MrJohnson, NuveoDeluxe and AllStateRx, and

observed being deposited by JOSHUA and JOSEPH. Laboratory analysis confirmed that these

tablets contained a detectable amount of methamphetamine.

       25.     As the investigation continued, it became clear that JOSEPH, JOSHUA, and

ROMAN were all connected in relation to their drug activities. First, law enforcement agents

conducted cryptocurrency analysis relating to the cryptocurrency wallets associated with

NuveoDeluxe, AllStateRx, and MrJohnson. When law enforcement conducts investigations

involving virtual currency, it sometimes uses commercial services offered by several different

blockchain-analysis companies. These companies analyze the Bitcoin blockchain and attempt to

identify the individuals or groups involved in transactions. Specifically, these companies have

developed proprietary software that analyzes all the data underlying each Bitcoin transaction on

the Bitcoin blockchain and then groups related

analysis. The methods employed by these blockchain analysis companies have been independently



accurate results. Additionally, through numerous, unrelated investigations, law enforcement has

been able to corroborate the accuracy of the information provided via these third-party services.



                                                 10
    Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 11 of 32 PageID# 17




         26.      Throughout the investigation, law enforcement applied cryptocurrency analysis to

determine the flow of proceeds from and to each individual vendor. It is common in darknet drug

investigations for individuals involved with darknet vendors to utilize cryptocurrency to attempt

to obscure their involvement with the vendor pages.                    This investigative strategy also uses

intelligence gathered from other law enforcement investigations, which can include access to DM

data. Utilizing these sophisticated investigative techniques, law enforcement identified several

cryptocurrency wallets which received payments believed to be associated with MrJohnson



                                      5


         27.      Regarding the NUVEODELUXE WALLET, law enforcement found that it

continuously made payments to a Bitcoin exchange platform, which exchanges cryptocurrency for



enforcement, EXCHANGE BUSINESS 1 provided information for those transactions, which

found that payments initiated from the NUVEODELUXE WALLET ultimately were used to

purchase gift cards which were redeemed by JOSEPH in his name. For these reasons, law

enforcement believes JOSEPH controls the NUVEODELUXE WALLET.

         28.      Regarding the ALLSTATERX WALLET, law enforcement found that it also made

payments to EXCHANGE BUSINESS 1 for gift cards. In response to a subpoena, EXCHANGE

BUSINESS 1 provided information for those transactions, which found payments initiated from

the ALLSTATERX WALLET were redeemed by JOSHUA and his live-                                                   -     in

their names. In response to a subpoena, it was found that an IP address attributed to a telephone




5
  For purposes of clarity and continuity, the several cryptocurrency wallets associated with each vendor are referred
to as a single unit.

                                                         11
    Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 12 of 32 PageID# 18




number associated with JOSHUA was used for several of these orders. For these reasons, law

enforcement believes JOSHUA controls the ALLSTATERX WALLET.

         29.    Further analysis found that cryptocurrency was continuously being transferred

between the NUVEODELUXE WALLET and ALLSTATERX WALLET. The analysis has

shown that, to date, NUVEODELUXE WALLET and the ALLSTATERX WALLET have

transferred over $130,000 in Bitcoin between each other. The most recent payment was for




ALLSTATERX WALLET, law enforcement believes that JOSEPH and JOSHUA were directly

involved in these transfers.

         30.    Since June 2022 through the arrests of the defendants, law enforcement discovered

that the MRJOHNSON WALLET conducted transactions totaling over $1,000,000 worth of

Bitcoin while utilizing several other Bitcoin wallets associated with the MRJOHNSON WALLET



being sent to the ASSOCIATE WALLETS and ultimately into accounts at a financial institution
                                                                                       6
                                                                                           Records from

PAYMENT SERVICE 1 indicate that at least one of the accounts was registered to ROMAN using

an IP address attributed to ROMA                                                     ntrols some of the

ASSOCIATE WALLETS.




6
  PAYMENT SERVICE 1 enables users to make retail payments using a smartphone, to send payments peer-to-peer
to other users, and to buy and sell cryptocurrency for US currency, among other services.


                                                    12
    Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 13 of 32 PageID# 19




           31.     Finally, from at least August to mid-September 2023,7 the cryptocurrency analysis

found that the MRJOHNSON WALLET, the NUVEODELUXE WALLET, and the ALLSTATE

RX WALLET all sent cryptocurrency to the ASSOCIATE WALLETS. During this period, the

ASSOCIATE WALLETS ultimately sent cryptocurrency to the same PAYMENT SERVICE 1

accounts accessed at ROMAN                         and believed to be used by ROMAN.

           32.     Law enforcement believes the cryptocurrency wallets above are used exclusively

for proceeds from illegal drug activity. Law enforcement reviewed income records for JOSEPH,

JOSHUA, and ROMAN, which have reported to their respective states. None of the three

individuals have reported levels of income that would explain the financial amounts involved

above. Specifically, since the investigation began in 2022, ROMAN had no reportable income,

JOSEPH had no reportable income,8 and JOSHUA earned $10,370.

      I.         Search Warrants and Arrests of ROMAN, JOSEPH, and JOSHUA

           33.     On February 15, 2024, five search warrants were sworn out of the Eastern District

of New York for locations law enforcement found were tied to the conspiracy. On the same day,

three search warrants were sworn out of the District of New Jersey for locations law enforcement

found were tied to the conspiracy.

           34.     On February 21, 2024, six search warrants were executed, as well as the three arrest

warrants for JOSEPH, JOSHUA, and ROMAN.




7
  Subpoenas to PAYMENT SERVICE 1 for time periods after mid-September 2023 are still outstanding. However,
law enforcement is still able to determine through its analysis that cryptocurrency is being sent from the ASSOCIATE
WALLETS to PAYMENT SERVICE 1 after mid-September 2023. Therefore, law enforcement believes that the
accounts at PAYMENT SERVICE 1 attributed to ROMAN are still receiving cryptocurrency from the ASSOCIATE
WALLETS.
8
 JOSEPH recently began driving for a popular ride sharing service, though there is still no reportable income to
either Florida, New York, or New Jersey.


                                                         13
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 14 of 32 PageID# 20




             a.

       35.        Throughout the investigation, ROMAN, JOSHUA, and others, known and



District of New York. For example, on or about January 15, 2024, surveillance located JOSHUA

and                                                              , then entering the basement.

ROMAN was observed carrying a large box, as shown below:




       36.        On or about February 15, 2024, the Honorable Vera M. Scanlon, United States

Magistrate Judge for the Eastern District of New York, authorized law enforcement to search

                                     . See 24-mj-140-vms. On or about February 21, 2024, law

enforcement executed that search warrant, and, amongst other items, located two tablet press

machines, as shown below:




                                               14
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 15 of 32 PageID# 21




           37.   Law enforcement also seized approximately 50,000 suspected methamphetamine

tablets.

                           These tablets were visually similar to those sold by NuveoDeluxe,

AllStateRx, and MrJohnson, and those seen deposited at post offices by JOSEPH, JOSHUA, and

ROMAN throughout the investigation and similar to the 5.5-kilogram package law enforcement

believes JOSHUA mailed to JOSEPH. The seized tablets are shown below:




                                              15
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 16 of 32 PageID# 22




             b. Search of ROMAN Residence

       38.     On February 15, 2024, the Honorable Vera M. Scanlon, United States District

Judge for the Eastern District of New York, authorized law enforcement to search a location the

investigation found was ROMA                 . See 24-mj-140-vms. JOSHUA had been seen at

                                                                On or about February 21, 2024,

law enforcement searched                      . Amongst other items seized were numerous

suspected methamphetamine tablets which were orange in color, oval in shape, and debossed with

                                                                NuveoDeluxe, AllStateRx, and

MrJohnson. The tablets were packaged for distribution, as shown below:




                                              16
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 17 of 32 PageID# 23




             c. Search of the ATTERBURY RESIDENCE

       39.      On or about February 15, 2024, the Honorable Rukhsanah L. Singh, United States

Magistrate Judge for the District of New Jersey, authorized law enforcement to search the

ATTERBURY RESIDENCE.            See 24-mj-14014-rls.    On or about February 21, 2024, law

enforcement executed the search warrant.      Amongst other items, law enforcement located

numerous heat and vacuum sealed bags and postage labels, and nearly $300,000 in cash. Notably,

JOSHUA and UCC-1 have no reported income that would explain the large amount of cash seized.

             d. Arrest of ROMAN, JOSEPH, JOSHUA, and the Seizure of the SUBJECT
                DEVICE

       40.     JOSEPH, JOSHUA, and ROMAN were all arrested on February 21.               After

ROMAN was arrested, he gave a voluntary, post-Miranda interview. Among other things, he

admitted he was paid in cryptocurrency to work for JOSHUA and to purchase items on the Internet




                                              17
 Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 18 of 32 PageID# 24




       41.    Throughout the investigation, JOSEPH primarily lived and operated out of Florida.

However, shortly before                                , law enforcement learned that JOSEPH

had relocated to Brooklyn, New York. To locate and execute the arrest warrant issued for

JOSEPH, as described in paragraph 18, the Honorable William E. Fitzpatrick authorized law

enforcement to receive location data from T-Mobile                  telephone, the SUBJECT

DEVICE. See 1:24-sw-91-wef. On the same day the warrant was issued, T-Mobile informed law

enforcement that the SUBJECT DEVICE was located in New York City. Data from the

SUBJECT DEVICE

and one of his co-defendants.

       42.    On or about 7:17 PM on February 18, 2024, location data showed the SUBJECT

DEVICE was located in the Longwood neighborhood of the Bronx in New York City. Law

enforcement traveled to this area and located JOSEPH standing outside of his vehicle, as shown

below. Once JOSEPH departed in the vehicle, the GPS pings on the SUBJECT DEVICE showed

it                   to                   travel                    as                    well.




                                             18
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 19 of 32 PageID# 25




       43.     On or about February 19, 20224, GPS pings showed the SUBJECT DEVICE to

be in the area of 3025 W 32nd Street, Brooklyn, New York.

                                ent 11E in this building.



outside of the building. At approximately 12:40 PM on the same day, JOSEPH exited the building,

entered the vehicle, and departed, as shown below. As JOSEPH departed, GPS pings for the

SUBJECT DEVICE showed it to travel as well.

       44.     On or about 6:00 AM on February 21, 2024, GPS pings for the SUBJECT

DEVICE showed it again to be in the area of 3025 W 32nd Street, Brooklyn, New York. Law



that building. However, due to a miscommunication with the local team that arrested JOSEPH,

law enforcement did not seize the SUBJECT DEVICE                                .

       45.     On or about March 4, 2024, law enforcement made contact with SERRANO at her

residence, where JOSEPH was arrested. SERRANO explained that she recently allowed JOSEPH

to stay at her residence after he came back to New York from Florida due to a recent breakup with

his girlfriend. SERRANO

license, but he had not lived there for a period of time.

       46.     To minimi                                                                a search

warrant on his vehicle, law enforcement asked if SERRANO had the keys to the vehicle.



                 , multiple credit cards                    , and the SUBJECT DEVICE. While

law enforcement intended to ask consent to seize the SUBJECT DEVICE




                                                 19
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 20 of 32 PageID# 26




residence, SERRANO offered the items to law enforcement on her own accord before law

enforcement asked for the SUBJECT DEVICE, stating she did not want the items in her house.

       47.      To ensure that this was indeed the SUBJECT DEVICE, law enforcement called

the telephone number for the SUBJECT DEVICE. After it rang, confirming it was the SUBJECT

DEVICE, it was placed into airplane mode in order to preserve the contents of the device. Based

on my training and experience, I know that the SUBJECT DEVICE has been stored in a manner

in which the contents are, to the extend material to this investigation, in substantially the same

state that they were when the SUBJECT DEVICE first came into possession of the FBI. The

SUBJECT DEVICE was transported to the Eastern District of Virginia on or about March 4,

2024, and has remained in the Eastern District of Virginia since. On March 23, 2024, I confirmed

with SERRANO that the SUBJECT DEVICE had not been accessed or tampered with between

the arrest of JOSEPH and law enforcement taking possession of the device on March 4.

USE OF CELLULAR DEVICES AND CRYPTOCURRENCY BY DRUG TRAFFICKERS

       48.      Based on my training, experience, knowledge, participation in narcotics

investigations, and the training and experience of other agents and detectives with whom I am

working closely in this investigation, I also know that drug traffickers use cell phones in

furtherance of drug trafficking, and I am familiar with the methods used by individuals involved

in the distribution of narcotics and drug trafficking. I also know that drug traffickers on the darknet

often use cryptocurrency. In particular, I know that:

             a. Narcotics traffickers frequently use cellular telephones to further their illegal
                activities by, among other things, remaining in constant or ready communication
                with one another without restricting either party to a particular location at which
                they might be subject to physical surveillance by law enforcement authorities.
                Narcotics traffickers rarely refer to methamphetamine or other illegal drugs
                expressly by name. Instead, to conceal the true nature of their illegal activities and
                to thwart detection by law enforcement, narcotics traffickers routinely refer to
                drugs, drug quantities, and drug prices by using seemingly innocuous words or

                                                  20
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 21 of 32 PageID# 27




           phrases. I have become familiar the methods, language, and terms that narcotics
           traffickers use to disguise conversations about their narcotics activities.

        b. Drug traffickers frequently have access to several cellular telephones, and that they
           periodically use newly acquired cellular telephones, all in an effort to avoid
           detection and to impede law enforcement efforts. Drug traffickers also
           communicate by use of text messaging to discuss types, quantities, and prices of
           narcotics, as well as to discuss meeting locations, all in an effort to elude detection
           and to impede the efforts of law enforcement. Drug dealing is an ongoing process
           that requires the development, use, and protection of a communications network to
           facilitate daily narcotics distribution.

        c. To that end, drug traffickers use communication facilities (including cell phones)
           to further every aspect of the drug trade. Drug traffickers use communication
           facilities to contact by way of both voice call and electronic message drug
           suppliers, customers, and coconspirators, all for the purpose of acquiring, storing,
           transporting, and distributing drugs. Drug traffickers also maintain, on their cell
           phones, records related to drug distribution (e.g., ledgers and notes pertaining to
           drug sales), and photographs of drugs, drug paraphernalia, and the instruments of
           the drug trade.

                                                                             irators, and meeting
           locations.

        d. For investigations where drug traffickers rely on the United States Postal Service

           to ship/transport quantities of illicit narcotics, I am aware that recipients and
           shippers alike use their cellular devices to check tracking numbers and shipping
           information for the illicit packages. They also use various addresses, to include
           locations where they do not reside, in order to avoid detection by law enforcement.

        e. Individuals who distribute illegal controlled substances on the darknet often use
           and are paid in virtual currency which is also known as cryptocurrency. Virtual
           currency could be stored almost anywhere within a location, in both physical and
           electronic formats. For example, Attachment B lists items to be seized including
           cryptocurrency, cryptocurrency wallets, Bitcoin keys, and passwords. These pieces
           of data compromise long and complex character strings, and in my training and
           experience I know that many virtual currency users write down or otherwise record
           and store such items because they are too long to commit to memory. As such,
           these items evidencing the sale of virtual currency, specifically wallets, keys, and
           passwords may be documented in writing and secreted anywhere within a
           residence. Therefore, individuals typically keep such records, data and documents
           in their residence, including in computers or on other devices that store electronic
           data.




                                             21
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 22 of 32 PageID# 28




       49.      Relevant here, throughout the investigation the defendants have utilized several

different telephones numbers in furtherance of the conspiracy. For instance, JOSHUA has

operated multiple telephone numbers on several different devices including, but not limited to,

XXX-XXX-8030, XXX-XXX-0032, and XXX-XXX-8179. Several of these numbers have been

directly tied to the drug activity in the conspiracy. For instance, when the 5.5-kilogram package

was mailed, law enforcement reviewed USPS business records for the tracking number of the

package which found that it was tracked by both the XXX-XXX-0032 and XXX-XXX-8179

numbers.

       50.      JOSEPH has operated multiple telephone numbers on several different devices

including XXX-XXX-6091, XXX-XXX-3019, XXX-XXX-5462, and the SUBJECT DEVICE,

to name a few. Based on my training and experience, such frequent use of telephone numbers in

a short time suggests JOSEPH changed telephone numbers to avoid detection by law enforcement.

Since the conspiracy was carried out primarily over the Internet and used cryptocurrency, which

can be accessed and transferred by cell phones, as proceeds, I believe there is probable cause that

the SUBJECT DEVICE contains the items and evidence listed in Attachment B.

                                     TECHNICAL TERMS

       51.      Based on my training and experience, I know the following technical terms are

commonly used to convey the following meanings:

             a. Wireless telephone: A wireless telephone (or mobile telephone, or cellular
                telephone) is a handheld wireless device used for voice and data communication
                through radio signals. These telephones send signals through networks of
                transmitter/receivers, enabling communication with other wireless telephones or
                                                      wireless telephone usually contains

                the phone. In addition to enabling voice communications, wireless telephones offer
                a broad range of capabilities. These capabilities include: storing names and phone

                messages and e-mail; taking, sending, receiving, and storing still photographs and

                                                22
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 23 of 32 PageID# 29




           moving video; storing and playing back audio files; storing dates, appointments,
           and other information on personal calendars; and accessing and downloading
           information from the Internet. Wireless telephones may also include global


        b. Digital camera: A digital camera is a camera that records pictures as digital picture
           files, rather than by using photographic film. Digital cameras use a variety of fixed
           and removable storage media to store their recorded images. Images can usually
           be retrieved by connecting the camera to a computer or by connecting the
           removable storage medium to a separate reader. Removable storage media include
           various types of flash memory cards or miniature hard drives. Most digital cameras
           also include a screen for viewing the stored images. This storage media can contain
           any digital data, including data unrelated to photographs or videos.

        c. Portable media player: A
           handheld digital storage device designed primarily to store and play audio, video,
           or photographic files. However, a portable media player can also store other digital
           data. Some portable media players can use removable storage media. Removable
           storage media include various types of flash memory cards or miniature hard drives.
           This removable storage media can also store any digital data. Depending on the
           model, a portable media player may have the ability to store very large amounts of
           electronic data and may offer additional features such as a calendar, contact list,
           clock, or games.

        d. GPS: A GPS navigation device uses the Global Positioning System to display its
           current location. It often contains records the locations where it has been. Some
           GPS navigation devices can give a user driving or walking directions to another
           location. These devices can contain records of the addresses or locations involved
           in such navigation.
           consists of 24 NAVSTAR satellites orbiting the Earth. Each satellite contains an
           extremely accurate clock. Each satellite repeatedly transmits by radio a
           mathematical representation of the current time, combined with a special sequence
           of numbers. These signals are sent by radio, using specifications that are publicly
           available. A GPS antenna on Earth can receive those signals. When a GPS antenna
           receives signals from at least four satellites, a computer connected to that antenna

           altitude with a high level of precision.

        e. PDA: A personal digital assistant, or PDA, is a handheld electronic device used for
           storing data (such as names, addresses, appointments or notes) and utilizing
           computer programs. Some PDAs also function as wireless communication devices
           and are used to access the Internet and send and receive e-mail. PDAs usually
           include a memory card or other removable storage media for storing data and a
           keyboard and/or touch screen for entering data. Removable storage media include
           various types of flash memory cards or miniature hard drives. This removable
           storage media can store any digital data. Most PDAs run computer software, giving

                                             23
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 24 of 32 PageID# 30




                them many of the same capabilities as personal computers. For example, PDA
                users can work with word-processing documents, spreadsheets, and presentations.

                determining the location of the device.

       52.      Based on my training and experience, I know that the SUBJECT DEVICE, an

Apple iPhone 14, has the capability to allow it to serve as a wireless telephone, digital camera,

portable media player, GPS navigation device, and PDA.            In my training and experience,

examining data stored on devices of this type can uncover, among other things, evidence that

reveals or suggests who possessed or used the device.

                   ELECTRONIC STORAGE AND FORENSIC ANALYSIS

       53.      Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can sometimes

be recovered with forensics tools.

       54.      There is probable cause to believe that things that were once stored on the

SUBJECT DEVICE may still be stored there, for at least the following reasons:

             a. Based on my knowledge, training, and experience, I know that electronic files or
                remnants of such files can be recovered months or even years after they have been
                downloaded onto a device or storage medium, deleted, or viewed via the Internet.
                Electronic files downloaded to a device or storage medium can be stored for years
                at little or no cost. Even when files have been deleted, they can be recovered
                months or years later using forensic tools. This is so because when a person
                                                                                              not
                actually disappear; rather, that data remains on the storage medium until it is
                overwritten by new data.

             b. Therefore, deleted files, or remnants of deleted files, may reside in free space or
                slack space that is, in space on the storage medium that is not currently being used
                by an active file for long periods of time before they are overwritten. In addition,




                                                 24
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 25 of 32 PageID# 31




             c. Wholly apart from user-generated files, electronic storage media in particular, an
                                                            contain electronic evidence of how an
                electronic device has been used, what it has been used for, and who has used it. To
                give a few examples, this forensic evidence can take the form of operating system
                configurations, artifacts from operating system or application operation, file system

                erase or delete this evidence, because special software is typically required for that
                task. However, it is technically possible to delete this information.

             d. Similarly, files that have been viewed via the Internet are sometimes automatically


       55.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the

SUBJECT DEVICE was used, the purpose of its use, who used it, and when. There is probable

cause to believe that this forensic electronic evidence might be on the SUBJECT DEVICE

because:

             a. Data on the storage medium can provide evidence of a file that was once on the
                storage medium but has since been deleted or edited, or of a deleted portion of a
                file (such as a paragraph that has been deleted from a word processing file).

             b. Forensic evidence on a device can also indicate who has used or controlled the
                device.


             c. A person with appropriate familiarity with how an electronic device works may,
                after examining this forensic evidence n its proper context, be able to draw
                conclusions about how electronic devices were used, the purpose of their use, who
                used them, and when.

             d. The process of identifying the exact electronically stored information on a storage
                medium that are necessary to draw an accurate conclusion is a dynamic process.
                Electronic evidence is not always data that can be merely reviewed by a review
                team and passed along to investigators. Whether data stored on a computer is
                evidence may depend on other information stored on the computer and the
                application of knowledge about how a computer behaves. Therefore, contextual
                information necessary to understand other evidence also falls within the scope of
                the warrant.



                                                 25
 Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 26 of 32 PageID# 32




             e. Further, in finding evidence of how a device was used, the purpose of its use, who
                used it, and when, sometimes it is necessary to establish that a particular thing is
                not present on a storage medium.

       56.      Nature of examination. Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the SUBJECT

DEVICE consistent with the warrant. The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium, that might

expose many parts of the device to human inspection in order to determine whether it is evidence

described by the warrant.

       57.      Manner of execution. Because this warrant seeks only permission to examine a

device already in law

physical intrusion onto a premises. Consequently, I submit there is reasonable cause for the Court

to authorize execution of the warrant at any time in the day or night.

//

//

//

//

//

//

//

//

//

//

//



                                                 26
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 27 of 32 PageID# 33




                                       CONCLUSION

       I submit that this affidavit supports probable cause for a search warrant authorizing the

examination of the SUBJECT DEVICE, further described in Attachment A, to seek the items and

information further described in Attachment B.

                                                      Respectfully submitted,




                                                      Daniel McCoy
                                                      Special Agent
                                                      Federal Bureau of Investigation


Attested to in accordance with the requirements of
Fed. R. Crim. P. 4.1 via telephone on March 25, 2024.



_________________________________________
The Honorable Lindsey R. Vaala
United States Magistrate Judge
Alexandria, Virginia




                                                 27
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 28 of 32 PageID# 34




                                     ATTACHMENT A

                                    Items To Be Searched

       The property to be searched is an Apple iPhone 14 Pro Max, bearing IMEI

35379198066465, in a gold case, currently located at the FBI Northern Virginia Resident Agency,

                                                     SUBJECT DEVICE            The front of the

SUBJECT DEVICE is a picture of JOSEPH holding several one-hundred-dollar bills.

                                  The SUBJECT DEVICE
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 29 of 32 PageID# 35




                                       ATTACHMENT B

                                           Items To Be Seized

       1.      All records on the SUBJECT DEVICE described in Attachment A that relate to

the violations of Title 21, United States Code, Sections 841(a)(1) and 846, that involve JOSHUA,

JOSEPH, ROMAN, and others, both known and unknown, including but not limited to:

            a. Any conversations, whether through text messages or other applications, where

               JOSEPH or others discuss controlled substances;

            b. Lists of customers and related identifying information;

            c. Types, amounts, and prices of drugs trafficked as well as dates, places, and amounts

               of specific transactions,

            d. Any information related to sources of drugs (including names, addresses, phone

               numbers, or any other identifying information);

            e. Any photographs or videos of controlled substances;

            f. All bank records, checks, credit card bills, account information, and other financial

               records;

            g. All records pertaining to travel (including but not limited to: documentation

               pertaining to air travel, hotel/rental property accommodations, rental vehicles, or

               any other mode of transportation);

            h. Any information related to the shipment or mailing of parcels (including but not

               limited to: receipts, delivery notices, and other shipping documentation from the

               U.S. Postal Service, small package carriers, or common carriers which indicate the

               shipment of packages and parcels containing controlled substances, any other

               records of shipments of parcels, notes recording the tracking number/ information



                                                   2
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 30 of 32 PageID# 36




               of parcels, photographs of parcels or their labels, photographs documenting the

               tracking number/ information of parcels, payment receipts related to parcels,

               documents or information pertaining to shipping label creation or the payment for

               shipping of parcels);

            i. Password, encryption keys, PGP keys, recovery seeds, and other access devices that

               may be necessary to access devices;

            j. Records of or information about Internet Protocol addresses used by the device;

            k. Evidence of the use of virtual private networks and the TOR network, including,

               but not limited to, access of darknet marketplaces;

            l. Records of or information about the device      Internet activity, including firewall

               logs, caches, brows

               search terms that the user entered into any Internet search engine, and records of

               user-typed web addresses;

       2.      Evidence of user attribution showing who used or owned the SUBJECT DEVICE

at the time the things described in this warrant were created, edited, deleted, such as logs,

phonebooks, saved usernames and passwords, documents, and browsing history.

       3.      Any and all cryptocurrency, to include the following:

            a. Any and all representations of cryptocurrency public keys or addresses;

            b. Any and all representations of cryptocurrency private keys; and

            c. Any and all representations of cryptocurrency wallets or their constitutive parts, to




                                                 3
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 31 of 32 PageID# 37




          4.     The United States is authorized to seize any and all cryptocurrency by transferring

the full account balance in each wallet to a public cryptocurrency address controlled by the United

States.

          5.     The United States is further authorized to copy any wallet files and restore them

onto computers controlled by the United States. By restoring the wallets on its own computers,

the United States will continue to collect cryptocurrency transferred into the wallets seized as a

result of transactions that were not yet completed at the time that the devices were seized.

          As used above, t

evidence in whatever form and by whatever means they may have been created or stored, including

any form of computer or electronic storage (such as flash memory or other media that can store

data) and any photographic form.

          This warrant authorizes a review of electronic storage media and electronically stored

information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

instrumentalities described in this warrant. The review of this electronic data may be conducted

by any government personnel assisting in the investigation, who may include, in addition to law

enforcement officers and agents, attorneys for the government, attorney support staff, and technical

experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or copied

electronic data to the custody and control of attorneys for the government and their support staff

for their independent review.

          If the government identifies seized materials that are potentially attorney-client privileged

or subject to the work-

discontinue review until a Filter Team of government attorneys and agents is established. The

Filter Team will have no future involvement in the investigation of this matter. The Filter Team



                                                   4
Case 1:24-sw-00202-LRV Document 1-1 Filed 03/25/24 Page 32 of 32 PageID# 38




will review seized communications and segregate potential Protected Materials. At no time will

the Filter Team advise the Prosecution Team of the substance of any potential Protected Materials.

The Filter Team then will provide all communications that are not potential Protected Materials to

the Prosecution Team and the Prosecution Team may resume its review. If the Filter Team

concludes that any of the potential Protected Materials are not protected, the Filter Team must

obtain either agreement from defense counsel/counsel for the privilege holder or a court order

before providing these potential Protected Materials to the Prosecution Team. The investigative

team may continue to review any information not segregated as potentially privileged.




                                                5
